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PAUL S. MARKOWITZ,
Plaintiff,
VS.

NO. O4-24ll-Ma/An

JoHN HARPER, et al.,

>'<><>'<>'<>'<>'<><)-<>-<>-<

Defendants.

 

ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
ORDER DENYING LEAVE TO PROCEED l§ FORMA PAUPERIS ON APPEAL
AND
ORDER DENYING APPOINTMENT OF COUNSEL

 

On August 26, 2004, the Court entered an order granting the
defendants' motion for summary judgment and on September 7, 2004,
entered the judgment. On October l, 2004, the plaintiff, through
retained, counsel, filed a notice of appeal and paid the $255
appellate filing fee. On January 31, 2005, the Sixth Circuit Court
of Appeals allowed retained counsel to withdraw from his
representation of the plaintiff. The Court of Appeals granted
plaintiff two thirty day extensions of time to retain counsel.

On April 8, 2005, plaintiff filed a motion for appointment of
counsel and motion to proceed ip fp;ma pauperis on appeal. Twenty-
eight U.S.C. § 1915(a)(3) provides that an appeal may not be taken
pp fp;ma pauperis if the trial court certifies in writing that it

is not taken in good faith. The good faith standard is an

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objective one. Coppedge v. United. States, 369 U.S. 438, 445
(1962).

In granting the defendants’ motion for summary judgment on
August 26, 2004, the Court determined that plaintiff’s complaint
was barred by the statute of limitations.1

lt would be inconsistent for a district court to determine
that. a complaint is time~barred, yet has sufficient merit to
support an appeal ip forma Dauperis. See Williams v. Kullman, 722
F.2d 1048, 1050 n.l (2d Cir. 1983). The same considerations that
led the Court to grant defendants' motion for summary judgment also
compel the conclusion that an appeal would not be taken in good
faith. lt is therefore CERTIFIED, pursuant to 28 U.S.C. §
1915(a)(3), that any appeal in this matter by plaintiff is not
taken in good faith, and plaintiff may not proceed on appeal ip
fp;ma pauperis. Therefore, plaintiff is not entitled to
appointment of counsel by this Court. Accordingly, the motion for

appointment of counsel is DENIED.

IT lS SO ORDERED this 2301 day of May, 2 05.

j/Wr_\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

1 ln_ an earlier lawsuit, plaintiff failed, to properly serve the

defendants with the complaint and the notice of voluntary dismissal as required
by Tenn. Rules of Civ. P. 4 and 41. Thus, plaintiff was not entitled to
application of the Tennessee savings statute, Tenn. Code Ann. § 28*1~105(a) and
his statute of limitations was not tolled by the filing of the previous action.

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STATES DISTRICT oURT - WESTRNE ISRICT oF TENNESSEE

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 20 in
case 2:04-CV-024]1 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

